           Case 1:11-cr-00197-LJO Document 28 Filed 08/31/11 Page 1 of 2



 1   ROBERT L. FORKNER (CSB# 106697)
     Law Offices of Robert L. Forkner
 2   722 Thirteenth Street
 3
     Modesto, CA 95354
     Telephone:(209)544-0200
 4   Fax:      (209)544-1860
 5   Attorney for Defendant
     OMAR QUINTERO-RODRIGUEZ
 6

 7

 8                  IN THE UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       ) No. 1:11-CR-00197-LJO
11                                   )
          Plaintiff,                 )
12                                   ) ORDER TO
                                     ) CONTINUE STATUS CONFERENCE
13   v.                              ) (note lines 1-3)
                                     )
14
     OMAR QUINTERO-RODRIGUEZ ET AL., )
                                     )
15                                   )
          Defendants.                )
16                                   )
                                     )
17                                   )
                                     )
18

19

20
     GOOD CAUSE APPEARING in paragraph 3 of the stipulation (in that
21
     paragraph 2 simply says that counsel are not ready—hardly good
22
     cause), it is hereby ordered that the September 2, 2011 Status
23
     Conference be continued to September 23, 2011 at 9:00 a.m.            I
24
     find that the ends of justice warrant an exclusion of time and
25
     that the defendant’s need for continuity of counsel and
26
     reasonable time for effective preparation exceeds the public
27
     interest in a trial within 70 days.      THEREFORE IT IS FURTHER
28

                                         1
                                Case 1:11-cr-00197-LJO Document 28 Filed 08/31/11 Page 2 of 2



 1   ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h)
 2   (7) (B) (iv) from the date of this order to September 23, 2011.
 3

 4
     IT IS SO ORDERED.
 5

 6                         Dated:   August 31, 2011                 /s/ Lawrence J. O’Neill
                                                                  UNITED STATES DISTRICT JUDGE
 7   DEAC_Signature-END:




 8   b9ed48bb

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                              2
